            Case 1:18-cv-00760-CKK Document 34 Filed 05/07/18 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    SOUTHERN POVERTY LAW CENTER, in its
    individual capacity and on behalf of its clients
    detained at Stewart Detention Center, LaSalle
    Detention Facility, and Irwin County Detention
    Center,

                  Plaintiff,                           Civ. A. No. 18-0760 (CKK)

                           v.

    U.S. DEPARTMENT OF HOMELAND
    SECURITY, et al.,

                  Defendants.


                                   NOTICE OF APPEARANCE

          The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Daniel Patrick Schaefer as counsel of record for Defendants in the above-captioned

case. The undersigned will participate in today’s teleconference call with the Court at 3:00 pm

to discuss a briefing schedule.



May 7, 2018                                    Respectfully submitted,



                                                /s/ Daniel P. Schaefer
                                               DANIEL P. SCHAEFER
                                               D.C. Bar 996871
                                               Assistant United States Attorney
                                               555 4th Street, N.W.
                                               Washington, D.C. 20530
                                               (202) 252-2531
                                               Daniel.Schaefer@usdoj.gov

 
